Case 4:25-cv-00571-KGB Document6 Filed 06/16/25 Pagelof1

AFFIDAVIT OF SERVICE

Case: | Court: County: Job:
IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS Pulaski 13410219 (25745-1)
CIVIL DIVISION
Plaintiff / Petitioner: Defendant / Respondent:
KEONNA JOHNSON MUHYADIN GEDI AND LOADEX LTD CO
Received by: For:
PROACTIVE LEGAL SOLUTIONS
To be served upon:
Muhyadin Gedi

|, Mike Sornberger, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name/Address: Rukiya Mohamed in apartment number 115., 2923 Maine Prairie Road Apt 104 and 115, St. Cloud, MN 56301
Manner of Service: Substitute Service - Abode, May 29, 2025, 3:18 pm CDT
Documents: Summons, Complaint and Demand for Jury Trial

Additional Comments:

1) Unsuccessful Attempt: May 29, 2025, 3:17 pm CDT at 2923 Maine Prairie Road Apt 104 and 115, St. Cloud, MN 56301
Attempt at home address, no answer at the door of apartment number 104,

2) Successful Attempt: May 29, 2025, 3:18 pm CDT at 2923 Maine Prairie Road Apt 104 and 115, St. Cloud, MN 56301 received by Rukiya
Mohamed in apartment number 115.. Age: 60; Ethnicity: African American; Gender: Female; Weight: 180; Height: 5'8"; Hair: Other; Eyes:
Brown; Relationship: Mother;

Subscribed and sworn to before me by the affiant who is
personally known to me.

05/29/2025 ; Lhe
Mike Sornberger Date
Notary Publ

Date

Ltirg 20 ooS
x

ine cillinnctllinnaatl aan lta altos tlt

Remington Quackenbush
Notary Public
Minnesota
My Commission Expires January 31, 2029
gage

Se
wee

